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                            EXHIBIT 8
21/7/2020   Case 2:20-cv-00851-BSJ Document    79-8 Mail
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                                                                      Tour - rescheduled



                                                                                    Lisa Moore <lmoore@crystal-lagoons.com>



  Technical Tour - rescheduled
  1 message

  Lisa Moore <lmoore@crystal-lagoons.com>                                                           Mon, May 14, 2018 at 10:52 AM
  To: Brook Cole <bcole@clydeinc.com>

    Hi Brook -

    It's been a few weeks since we talked so I wanted to give you some updates. The last month has been a little hectic with
    our first US lagoon opening in Florida. We anticipated about 1k attendees, but ended up with over 3,000! Here's a video
    we made to recap the event.

    Technical Tour - The construction was running behind for our lagoon in Houston, so we had to move that Technical Tour a
    few weeks, so now that's scheduled for May 31st. If you would still like your team to go let me know if that date works, or
    if we need to schedule a private tour for another date.

    Details for the Technical Tour:
    Event date: Thursday May 31st
    Event time: 11am-3pm
    Location: Balmoral

            Agenda:
            · 11:00am to 11:15am - arrive at Balmoral Info Center
            · 11:15am - casual introductions to group
            · 11:30am - grab lunch from catered buffet (eat during presentations)
            · 11:45am to 12:30pm - Project background/Lagoon & construction overview: Crystal Lagoons team + Developer
            team
            · 12:30pm - Q&A from attendees
            · 1pm - site tour
            · 3pm - conclusion of tour

    We will need an RSVP from you with number of attendees by Monday May 21st. We have a limited number of
    spaces available due to space constraints inside the Info Center.

    Utah regulations: We have reached out to some consultants in Utah to help us move forward on regulations for our
    lagoons. I should have an update from our R&D team soon.

    Last we spoke you were going to see if your team would be interested in the public access lagoon in the sports area, if
    that has received any interest we can put together a concept design for you?

    Let me know how everything is going and if you have any questions!


    LISA MOORE
    Business Development
    Crystal Lagoons US Corp.

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